                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN
                                        GREEN BAY DIVISION

ONEIDA SEVEN GENERATIONS
CORPORATION and GREEN BAY
RENEWABLE ENERGY, LLC,

                        Plaintiffs,

           v.                                                             Case No. 1:16-cv-01700

CITY OF GREEN BAY,

                        Defendant.


       REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’
                                COMPLAINT


                                            ARGUMENT

           OSGC’s arguments against dismissal are rife with contradiction. OSGC invokes federal

court jurisdiction, but assert that this Court lacks authority to determine whether OSGC has the

capacity to bring this Complaint. Dock. No. 14, pp. 31–32.1 OSGC claims that it exhausted the

state law remedies before repairing to federal court and that state law remedies were inadequate,

but admit that state law remedies could have reversed the exact land-use decision of which OSGC

complains. Id., p. 18. OSGC complains that the decision to revoke its conditional use permit

violated due process, but assert a constitutionally protected interest in their building permit. Id.,

p. 15. But the most glaring contradictions are the two favorable state court decisions as Exhibits

A and B to a Complaint for deprivation of due process. Dock. No. 1. This is more than the

Constitution and § 1983 can bear. Plaintiffs fail to state a claim, fail to establish subject matter




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    Citations are to docket page number.
jurisdiction, and fail to prove corporate capacity to sue. For any one of the following, independent

reasons, the Complaint should be dismissed.

A.       The Business Committee cannot cure OSGC’s lack of capacity by resolution. This
         Court is authorized to find as much, or if the Court lacks authority, should dismiss
         the Complaint.

         Despite having brought this complaint in federal court, OSGC now argues that a federal

court cannot decide whether OSGC has capacity to bring this suit. Dock. No., pp. 31–32.

Although they fail to name it, OSGC has invoked the “tribal exhaustion rule.” As explained by

the Seventh Circuit, “[t]he concept of federal court abstention in cases involving Indian tribes

known as the ‘tribal exhaustion rule’ generally ‘requires that federal courts abstain from hearing

certain claims relating to Indian tribes until the plaintiff has first exhausted those claims in tribal

court.” Jackson v. Payday Financial, LLC, 764 F.3d 765, 784 (7th Cir. 2014). This rule plainly

does not apply where a plaintiff has voluntarily submitted its claim to the Court’s authority.

         In Altheimer & Gray v. Sioux Manufacturing Corporation, the Seventh Circuit held that

the doctrine of tribal exhaustion did not bar a federal court from deciding a contract dispute filed

against tribal defendants where the defendants had, “explicitly agreed to submit to the venue and

jurisdiction of federal and state courts.” 983 F.2d 803, 815 (7th Cir. 1993); see also Stifel, Nicolaus

& Co., Inc. v. Lac du Flambeau Band of Lake Superior Chippewa Indians, 807 F.3d 184, 196–98

(7th Cir. 2015) (applying Altheimer, 983 F.2d 803 and holding the same). While the defendants

in Altheimer and Stifel agreed by contract, OSGC has just as clearly “agreed to submit to the venue

and jurisdiction” of this Court by selecting this forum. OSGC cannot ask the Court to hear its

Complaint and deny the Court’s authority in the same action.2


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 Additionally, the Seventh Circuit has recognized, but not resolved, a circuit split as to whether the doctrine of tribal
exhaustion applies at all where there is no pending tribal court action. Jackson v. Payday Financial, LLC, 764 F.3d
765, 784 (7th Cir. 2014).

         The courts of appeals that have addressed this issue have reached opposite conclusions. In Garcia
         v. Akwesasne Housing Authority, 268 F.3d 76, 80 (2d Cir. 2001), the Court of Appeals for the

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         But even if OSGC was correct that the Court must abstain from deciding OSGC’s capacity,

Business Committee Resolution No. 02-22-17-E (the “Resolution”) would not become binding

authority. Courts abstaining in deference to tribal jurisdiction do not simply adopt the tribal court

decision—they dismiss. Iowa Mut. Ins. Co. v. LaPlante, 480 U.S. 9, 20 n. 14 (1987) (affirming

district court’s decision to abstain, but remanding for a determination on whether to dismiss or

stay pending further tribal court proceedings). If this Court cannot decide whether OSGC has

capacity to bring this lawsuit, the lawsuit must be dismissed.

         This Court can and should decide whether OSGC lacks capacity to sue, and not by

reference to the Resolution. OSGC’s reliance on the Resolution ignores the fundamental problem

with OSGC’s capacity—the Oneida General Tribal Council, not the Business Committee, voted

to dissolve OSGC and then affirmed that OSGC cannot continue litigation against the City. Dock.

No. 12-1, 12-3. OSGC acknowledges that the powers of the Business Committee are “subject to

General Tribal Council review.” Dock. No. 14, p. 33; see also Dock. No. 10-1, Constitution and

By-Laws of the Oneida Nation (2015), Article III, § 3 (The business committee may only “perform

such duties as may be authorized by the General Tribal Council.”). As the subordinate entity, the




         Second Circuit held that tribal exhaustion was not required absent an ongoing tribal proceeding….
         But see, e.g., United States v. Plainbull, 957 F.3d 724, 728 (9th Cir. 1992) (rejecting the
         Government’s argument that “the district court abused its discretion by abstaining from the merits
         of this case because there was no concurrent action pending in the tribal courts” because
         “[w]hether a tribal action is pending, however does not determine whether abstention is
         appropriate.”)

Id., 784 n. 44. The cases cited by Plaintiffs do not inform this issue because, in both cases, a tribal authority had
previously adjudicated the issue. Iowa Mut. Ins. Co. v. LaPlante, 480 U.S. 9, 9 (1987) (declining jurisdiction over
personal injury claim previously adjudicated in Blackfeet Tribal Court because “tribal appellate courts must have the
opportunity to review lower tribal court decisions”); Charles Mix v. U.S. DOI, 674 F.3d 898, 903 (8th Cir. 2012)
(declining jurisdiction over a land-use decision affirmed by the Bureau of Indian Affairs and the Interior Board of
Indian Appeals because the Eighth Circuit lacked jurisdiction to review decisions of the Interior Board of Indian
Appeals). It remains an open question in the Seventh Circuit as to whether a federal court may decide tribal issues
where no tribal court action is pending. It is a question this Court need not answer because Plaintiffs have
voluntarily submitted to the authority of the Court.

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Business Committee cannot interpret its own authority to override the will of the General Tribal

Council.

B.     The adequacy of OSGC’s state law remedies is not determined by its alleged losses.

       OSGC does not dispute that to state a claim for procedural or substantive due process, it

must show that its state law remedies were inadequate. See Dock. No. 14, pp. 20–22; see also

Bettendorf v. St. Croix County, 631 F. 3d 421, 427 (7th Cir. 2011) (“Where a claimant has availed

himself of the remedies guaranteed by state law, due process is satisfied unless he can show that

such remedies were inadequate.”); River Park, Inc. v. City of Highland Park, 23 F.3d 164, 167

(“Labels [procedural or substantive due process] do not matter.”).

       Rather, OSGC argues that the inadequacy of its state law remedies can be “readily inferred

from the facts alleged.” Id., p. 22 n. 3. Specifically, OSGC complains that state law remedies did

not provide “timely re-issuance of the CUP” or “appropriate compensation for the significant

damages it suffered as a result of the City’s wrongful actions.” Id., p. 22. According to OSGC,

the appellate judgments were untimely because they did not arrive in time to allow OSGC to take

advantage of grants and other incentives that made the project economically viable. Id., 20–21.

Thus, OSGC argues that its state law remedies were inadequate by counting its alleged damages.

       But adequacy of state law remedies is not measured by damages. Hudson v. Palmer, 468

U.S. 517, 535 (1984). Rather, adequacy refers to whether the state law provides sufficient process

to meet constitutional requirements. Id.; Barry Aviation, Inc. v. Land O’ Lakes Municipal Airport

Com’n, 366 F. Supp. 2d 792, 810 (W.D. Wis. 2005) (“The fact that a plaintiff ‘might not be able

to recover under [state law] remedies the full amount of which he might receive in a § 1983 action

is not determinative of the adequacy of state remedies”) (citations omitted). In land-use decisions,

the opportunity to seek certiorari review is sufficient process to meet constitutional requirements.

River Park, 23 F.3d at 167; Brick v. County of Walworth, 856 F.Supp. 509 (E.D. Wis. 1994);


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Magulski v. County of Racine, 879 F.Supp. 83 (E.D. Wis. 1995); Donohoo v. Hanson, No. 14-309,

2015 WL 5177968 (W.D. Wis. Sept. 3, 2015). OSGC’s alleged losses (including lost grants,

contracts, and permits) do not undermine the adequacy of its available state law remedies.

          For the same reason, OSGC cannot escape the holdings of Donohoo v. Hanson, No. 14-

309, 2015 WL 5177968 (W.D. Wis. Sept. 3, 2015), Harding v. City of Door, 879 F.2d 439, 431

(7th Cir. 1989), and Minneapolis Auto Parts Co. v. City of Minneapolis, 572 F. Supp. 389, 393 (D.

Minn. 1983), all finding no due process violation where plaintiffs had the opportunity for appellate

review and prevailed. OSGC attempts to distinguish those cases on the basis that in those cases,

“plaintiffs actually received the permit it sought during or as a result of the state court

proceedings.” Dock. No. 14, p. 22. This distinction fails legally and factually.

          Legally, the relief ultimately granted in a state court proceeding does not determine

whether OSGC’s due process rights were violated. Due process is, of course, concerned with

process. See CEnergy-Glenmore Wind Farm No. 1, LLC v. Town of Glenmore, No. 12–C–1166,

2013 WL 3354511 (E.D. Wis. July 3, 2013), aff’d 769 F.3d 485 (7th Cir. 2014) (“Due process

requires only a state court remedy, not a guaranteed win by the applicant’s contractual deadline.”).

Regardless of the outcome, OSGC had the “opportunity to apply for a writ” and, again, this is

sufficient to satisfy due process. River Park, 23 F.3d at 167 (emphasis added).

          Factually, the distinction fails because OSGC also prevailed in state court. The only reason

it has not “receive the permit it sought during or as a result of the state court proceedings” is that

it has failed to enforce the state court judgments. See infra Part C). Again though, even if OSGC

had lost, its opportunity to apply for a writ of certiorari satisfied due process. River Park, 23 F.3d

at 167.




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C.       “Procedural obstacles” do not excuse OSGC from pursuing its state law remedies and
         its failure to do so bars its federal due process claims.

         OSGC does not dispute that a plaintiff with available state law remedies against a land-use

decision must pursue those remedies before repairing to federal court. See Dock. No. 1, p. 10–14;

see also CEnergy-Glenmore Wind Farm No. 1, LLC v. Town of Glenmore, 769 F.3d at 489 (7th

Cir. 2014). Instead, OSGC simultaneously argues that it “exhausted” those remedies 3 and that

“procedural and practical obstacles” barred it from pursing those remedies. Dock. No. 14, p. 16.

OSGC cannot have it both ways—either OSGC pursued available state remedies or it did not.

OSGC admits that it did not: “Could OSGC eventually have placed this dispute in a posture in

which the City was under an enforceable order to re-issue the CUP? Probably…” Dock. No. 14,

p. 18.

         OSGC attempts to hedge this admission by arguing that the path to enforcing the judgment

was “unclear” and untimely. Id. at 17–18. These arguments go to adequacy of state law

remedies—not whether those remedies were “exhausted.”                         In any event, the arguments are

without merit.

         Specifically, OSGC argues that it could not enforce its state court judgments because “the

judgment of the appellate courts did not ‘require’ the City to do anything” and, according to OSGC,

Wisconsin law “limits the reviewing court’s authority in a certiorari proceeding.” Dock. No. 14,

pp. 17, 18. This is patently false. Obviously a certiorari court has the authority to reverse a circuit

court, which must then proceed in accordance with the judgment. See Wis. Stat. § 68.13(1);

Exhibit A (reversing the circuit court); Exhibit B (affirming reversal); see also Wis. Stat. § 808.09


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  Technically, the requirement that Plaintiffs repair to state court is “not because the owner must ‘exhaust’ state
remedies.” River Park, Inc. v. City of Highland Park, 23 F.3d 164 (7th Cir. 1994). “Rather the idea in zoning cases
is that the due process clause permits municipalities to use political methods to decide, so the only procedural rules
at stake are those local law provides, and these rules must be vindicated in local courts.” Id. The upshot, however,
is the same. Plaintiffs cannot state a claim for due process violations based on an objectionable land-use decision
without pursuing state law remedies. Id.; CEnergy-Glenmore Wind Farm No. 1, LLC v. Town of Glenmore, 796
F.3d 485 (7th Cir. 2014); Gamble v. Eau Claire County, 5 F.3d 285, 286–87 (7th Cir. 1993).

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(“In all cases, an appellate court shall remit its judgment or decision to the court below and

thereupon the court below shall proceed in accordance with the judgment or decision.”)

       OSGC also complains that it could not enforce the judgment until the record was remitted

to the circuit court and because of this delay, the “unique confluence of circumstances that would

have allowed construction of the facility had disappeared.”      Dock. No. 14, pp. 17, 18. Again,

“[t]he fact that a plaintiff might not be able to recover under state law remedies the full amount of

which he might receive in a § 1983 action is not determinative of the adequacy of the state

remedies.” Barry Aviation v. Land O’Lakes Municipal Airport Com’n, 366 F.Supp.2d 792 (W.D.

Wis. 2005).

       If OSGC was not satisfied with the outcome of certiorari review, it also could have sought

a writ of mandamus to compel the issuance of the building permit. Indeed, OSGC initially filed

exactly such a writ of mandamus, but voluntarily dismissed it. See Gunta Decl., ¶¶ 3, 4, Exhibit

9, Petition for Writ of Mandamus, Oneida Seven Generations Corporation et al. v. City of Green

Bay, Case No. 12CV2262 (filed with Brown County Circuit Court of Wisconsin, November 14,

2012). The opportunity to file a writ of mandamus defeated plaintiffs’ due process claims in

CEnergy-Glenmore and the opportunity, along with the opportunity to enforce its judgment,

defeats OSGC’s claim here. 769 F.3d 485, 489 (7th Cir. 2014).

       Neither Guerro v. City of Kenosha Housing Authority nor Hanlon v. Town of Milton excuse

OSGC’s failure to fully pursue its state court remedies. Guerro denied equitable relief as outside

the scope of a certiorari action. 2011 WI App 138, ¶ 9, 337 Wis. 2d 484, 805 N.W.2d 127. Despite

the relief sought being unavailable on certiorari, Guerro nevertheless reinforced that “a litigant

cannot claim a deprivation of due process until he or she has, in fact, pursued the post deprivation

process provided.” Id., ¶ 14. In Guerro, the “post deprivation process provided” was certiorari

under Wis. Stat. § 68.13.     Id.   Here, the available post deprivation process also includes

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enforcement of the state court judgments and OSGC failed to pursue them. Wis. Stat. §§ 815.02,

785.03(1)(a).

       Likewise, Hanlon held that claim preclusion does not bar plaintiffs who have pursued a

certiorari action from pursuing a § 1983 action. 2000 WI 61, ¶ 4, 612 N.W.2d 44. It does not

address, let alone excuse, any prerequisites to stating a claim under § 1983, pursuit of state law

remedies. See id. Such a holding could not be reconciled with CEnergy-Glenmore, 769 F.3d at

488 (denying due process claims under § 1983 where plaintiffs “ignored potential state law

remedies.”).

       Finally, OSGC states that “the City apparently recognizes that OSGC filed a request for an

administrative appeal, filed a Notice of Claim, filed a certiorari action in state court, and pursued

that action all the way to the Wisconsin Supreme Court.” Dock. No. 14, p. 16. Any facts cited

by the City are “recognized” only for the limited purpose of supporting its Motion to Dismiss,

under which all allegations in the Complaint “must be accepted as true.” Killingsworth v. HSBC

Bank Nevada, N.A., 507 F.3d 614, 618 (7th Cir. 2007).

       The statutory framework is in place for OSGC to enforce the appellate judgments. Any

“procedural obstacles” do not excuse OSGC from taking advantage of available state court

remedies—“The due process clause requires that a claimant receive adequate process, not the most

advantageous process available to him….” Bettendorf v. St. Croix County, 631 F.3d 421, 426 (7th

Cir. 2011).

D.     OSGC’s investment on the CUP does not transform the CUP into a protectable
       property interest.

       OSGC does not dispute that a conditional use permit is not a constitutionally protected

property interest. See Dock. 14, p. 9. Instead, OSGC claims its “combined interests” are

“sufficient to warrant due process protection.” Id. The “combined interests” are the assets OSGC

acquired in reliance on the CUP—“a building permit from the City, air permits from the state and
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federal regulators, contractors from third-parties, and various grants and tax-credits.” Id.; see also

Dock. No. 1, Complaint, ¶ 4 (“Thereafter, and in reliance on the CUP, OSGC invested significant

funds developing the project. OSGC completed a substantial environmental permitting process

with both state and federal regulators. Eventually, OSGC obtained all necessary permits to being

construction of the facility.”) In other words, OSGC asks the court to find that its investments

made in reliance on the CUP give rise to a protectable property interest independent of the CUP.

       Wisconsin courts do not recognize this theory. Rainbow Springs Gold Co., Inc. v. Town of

Mukwonago, 2005 WI App 163, ¶¶ 14, 18, 284 Wis.2d 519, 702 N.W.2d 40 (finding no property

interest in a revoked conditional use permit despite plaintiff losing the use of a recreational resort

facility, a convention center, two golf courses, a haunted hotel, and a full-service restaurant all

operated in reliance on the CUP).

       Nor do the cases cited by OSGC. OSGC misquotes Bd. of Regents v. Roth as holding that

property interests “essentially encompass[] any ‘legitimate claim of entitlement.’” Dock. No. 14,

p. 15 (citing 408 U.S. 564, 576–77 (1972)). Rather, Roth established that a “legitimate claim of

entitlement” is a threshold attribute of a protected property interest. 408 U.S. at 577 (“To have a

property interest in a benefit, a person … must [] have a legitimate claim of entitle to it.”). Roth

further established that protected property interests “are created and their dimensions are defined

by existing rules or understandings that stem from an independent source such as state law—rules

or understandings that secure certain benefits and support claims of entitlement to those benefits.”

Id. (finding no property interest.)

       Consistent with Roth, in the cases cited by OSGC, courts found a protected property

interest where the interest relied on state laws. Building Height Cases, 181 Wis. 519, 549–50, 195

N.W. 544 (1923) (protecting investments made in reliance on an ordinance); Peninsula Props.,

Inc. v. City of Sturgeon Bay, No. 04-692, 2006 WL 1308093, *2 (E.D. Wis. May 8, 2006)

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(protecting building permits sought pursuant to state law); River Park, Inc. v. City of Highland

Park, 23 F.3d 164, 165 (7th Cir. 1994) (protecting a zoning designation where state law required

the City to grant plaintiff’s zoning application).

       Unlike these interests, OSGC’s alleged interest was not made in reliance on state law—it

was made “in reliance on the CUP.” Dock. No., Complaint, ¶ 4. The CUP cannot “support claims

of entitlement” (Roth, 408 U.S. at 577) because “[a] conditional use permit is not property.” Id.,

Exhibit B, p. 35, ¶ 93 (Oneida Seven Generations Corp., LLC v. City of Green Bay, 2015 WI 50,

¶ 41–42, 362 Wis. 2d 290, 865 N.W.2d 162 (quoting Rainbow Springs, 2005 WI App 163, ¶ 18,

284 Wis. 2d 519, 702 N.W.2d 40)).

E.     OSGC has not alleged a violation of procedural due process.

       To support its claim for procedural due process, OSGC cites to Owen v. Lash, 682 F.2d

648 (7th Cir. 1982) and Zinerman v. Burch, 494 U.S. 113 (1990). Dock. No. 14, pp. 23, 24. Its

reliance on these cases is misplaced. The due process claim in Lash and Zinerman and was for

deprivation of liberty where plaintiffs were involuntarily detained in state prison and a state mental

health facility, respectively. As explained in Mathews, due process is “a flexible concept that

varies with the particular situation.” 494 U.S. 113, 127. The process owed in a deprivation of

liberty is not the same as what is owed in land-use decisions. Again, all that is owed in land-use

decisions is “the opportunity to apply for a writ.” River Park, Inc. v. City of Highland Park, 23

F.3d 164, 167 (7th Cir. 1994). Thus, even if, as alleged, the City did not provide “a meaningful

hearing prior to revoking the CUP” (Dock. No. 14, p. 23), the opportunity for certiorari review

was a sufficient procedural safeguard. See id.; see also CEnergy-Glenmore Wind Farm No. 1,

LLC v. Town of Glenmore, 769 F.3d 485, 489 (7th Cir. 2014) (“[A] post-deprivation remedy is

sufficient to satisfy due process in such situations [land-use decisions].”).




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         OSGC outlines additional steps the City could have taken, including that “the City should

have devised a manner to consider that decision that would have prevented a fabricated reason for

it.” Dock. No. 14, p. 23. Whatever process OSGC had in mind by this, procedural due process

does not turn on what additional process the city could have provided. The Seventh Circuit has

rejected such arguments as “speculative” and “irrelevant.” Bettendorf v. St. Croix County, 631

F.3d 421 (7th Cir. 2011). Where the plaintiffs in Bettendorf complained that another procedure

would have provided “more or better process” than it received in state court proceedings, the

Seventh Circuit denied his claim, holding “[t]he due process clause requires that a claimant receive

adequate process, not the most advantageous process available to him.” Id.

         The theme throughout OSGC’s Complaint and arguments is that OSGC is not dissatisfied

with the process they received—it is dissatisfied with its losses. In Shipyard Development, LLC

v. City of Sturgeon Bay, this Court denied just such a claim: “[I]t is clear from its complaint that

Shipyard is not seeking notice and a hearing on its right to a prompt determination. Shipyard wants

money for the losses it claims to have sustained as a result of the delay. Shipyard’s claims are not

for a denial of procedural protections.” No. 09-C-216, 2011 WL 748146 (E.D. Wis. Feb. 24,

2011).

F.       OSGC has not alleged a violation of substantive due process.

         As an initial matter, OSGC accuses the City of conflating substantive due process with

procedural due process and cites River Park, Inc. v. City of Highland Park as an example of a case

relied on by the City that involved only procedural due process claims. Dock. No. 14, p. 24. This

criticism ignores that the Seventh Circuit applied River Park to claims for substantive and

procedural due process in CEnergy-Glenmore. 769 F.3d at 489 (“[R]egardless of how a plaintiff

labels an objectionable land-use decision (i.e., as a taking or as a deprivation without substantive

or procedural due process), recourse must be made to state rather than federal court.”) (citing River


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Park, 23 F.3d at 167 (“Labels do not matter. A person contending that state or local regulation of

the use of land has gone overboard must repair to state court.”) Thus, the requirements of River

Park apply to both substantive and procedural due process claims. That said, the City agrees that

substantive and procedural due process claims are distinct insofar as substantive due process

claims are “very limited” and a more “difficult undertaking, especially if the claim involves zoning

or other real property regulatory actions by a governmental body.” Bettendorf, 631 F.3d at 426;

see also Donohoo v. Hanson, No. 14-309, 2015 WL 5177968, *9 (W.D. Wis. Sept. 3, 2015) (“To

prevail on a claim that defendants deprived him of substantive due process, Donohoo’s burden is

even greater [than for a procedural due process claim].”)

        OSGC attempts to distinguish CEnergy-Glenmore by citing the loss of its building permit

and “significant funds spent in reliance on the town’s actions.” Dock. No. 14, p. 26. As to the

building permit, the loss of a building permit clearly does not entitle plaintiffs to a claim for

substantive due process. Harding v. County of Door, 870 F.3d 430 (7th Cir. 1989) (finding no

substantive due process violation for withdrawal of building permit). As to the “significant funds,”

OSGC has put the cart before the horse. Before it can state a claim for damages under section

1983, OSGC must first allege a constitutional violation. Instead, OSGC asks the Court to find a

violation based on the measure of its losses. OSGC repeats this theme throughout its bulleted list

of grievances. Dock. No. 14, pp. 27, 28. The “magnitude” of OSGC’s damages is not a proxy

for arbitrariness.

        The only Seventh Circuit case OSGC cites as having found a violation of substantive due

process is Peninsula Properties, Inc. v. City of Sturgeon Bay, No. 04-692, 2005 WL 2234000 (E.D.

Wis. Aug. 17, 2005). There, plaintiffs presented a viable case for substantive due process

violations by alleging that the City “refused to act as a means to coerce a citizen to take

unwarranted action.” Id., *8. OSGC has not alleged conduct that amounts to coercion. See

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Complaint. Nor does the conduct support an inference “that the City intentionally sought to harm

OSGC.” Dock. No. 14, p. 28. The worst that might be said about the allegations is that the City

yielded to political pressure, an allegation that decidedly does not support a claim for procedural

due process. River Park, 23 F.3d at 167 (“the due process clause permits municipalities to use

political methods to decide [land-use matters]”).

G.     The Complaint has not alleged a claim or standing on behalf of GBRE.

       Plaintiffs argue that by referring to OSGC and its subsidiary GBRE collectively, they are

excused from showing that GBRE is independently entitled to relief.             Dock. No. 14, p. 30.

According to Plaintiffs, the facts alleged on behalf of OSGC were alleged for both entities and the

City is free to parse out the distinctions in discovery. Id.

       Exactly this style of “vague drafting” was rejected by the Eastern District in Holmes v. City

of Racine, No. 14-CV-208-JPS, 2014 WL 3738050, *12 (E.D. Wis. July 30, 2014) (citing Lujan

v. Defs. Of Wildlife, 504 U.S. 555 (YEAR)). There, multiple plaintiffs pursued RICO claims

against multiple defendants, but the plaintiffs’ complaint failed to make clear which defendants

harmed which plaintiffs. Id. The court found this insufficient to confer standing:

               Here is what is clear: each plaintiff must allege facts that, taken as
               true, would show a claim for relief that is plausible on its face. In
               other words, the Court will not allow them to escape dismissal
               simply by pleading a host of facts which they then incorporate into
               claims against all or groups of the defendants…. [A]bsent factual
               allegations that would establish facial plausibility of RICO claims
               against specific defendants by specific plaintiffs, the Court will be
               obliged to dismiss the RICO portions of the plaintiffs’ amended
               complaint.

Id. (citing Aschcroft v. Iqbal, 556 U.S. 662, 663) (2009)) (emphasis added). This reasoning applies

with equal force here—Plaintiffs’ Complaint failed to establish facial plausibility of claims against

the City “by specific plaintiffs” and must be dismissed for lack of standing.




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        The reasoning from Holmes also renders GBRE’s claim deficient for purposes of Rule

8(a)(2). Where a complaint fails to show damages sufficient to confer standing, it also necessarily

fails to “show[] that the pleader is entitled to relief,” fails to “give the defendant fair notice of what

the… claim is and the grounds upon which it rests,” and fails to satisfy Rule 8. Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 554 (2007) (citing Fed. R. Civ. P. 8(a)(2)).



        Dated this 14th day of March, 2017.

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